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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 WISCONSIN VOTERS ALLIANCE, et al.,

        PLAINTIFFS,

 V.
                                                  CIVIL ACTION NO.: 20-3791 (JEB)
 VICE PRESIDENT MICHAEL R. PENCE,
 et al.,

        DEFENDANTS.



                    NOTICE OF ENTRY OF APPEARANCE OF COUNSEL

       To the Clerk of Court: Pursuant to LCvR 83.6(a), please enter the appearance of Justin M.

Flint, Esq. (#491782) of ECCLESTON & WOLF, PC as lead counsel for Non-Party Respondents

Erick G. Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A. in defense of this Court’s January

7, 2021, Show Cause Order in the above-captioned matter.

                                                Respectfully submitted,

                                                ECCLESTON & WOLF, P.C.

                                                /s/ Justin M. Flint
                                                Justin M. Flint (#491782)
                                                Channing L. Shor (#1024861)
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                                                Mohrman, Kaardal & Erickson, P.A.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January 2021 a copy of the foregoing Notice of

Entry of Appearance of Counsel was served to all Counsel of Record by this Court’s electronic

filing system.


                                                  /s/ Justin M. Flint
                                                  Justin M. Flint (#491782)




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